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                             UNITED STATES DISTRICT COURT
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                           CENTRAL DISTRICT OF CALIFORNIA
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       SREAM, INC,                                Case No. 8:13-cv-01868-PSG-AGR
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13           Plaintiff,
                                                  [PROPOSED] STIPULATED FINAL
14     v.                                         JUDGMENT AND PERMANENT
15                                                INJUNCTION AGAINST
       MEDICI INVESTMENT, INC. d/b/a              DEFENDANT HASSAN NURU d/b/a
16     EMPIRE TOBACCO; HASSAN NURU                SHAMROCK SMOKE SHOP
17     d/b/a SHAMROCK SMOKE SHOP; and
       DOES 1-10 INCLUSIVE,
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19           Defendants.
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                                           JUDGMENT
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 1                 FINAL JUDGMENT AND PERMANENT INJUNCTION
 2          This Court, having made the following findings of fact and conclusions of law
 3    pursuant to the parties’ stipulation:
 4          A.      Plaintiff Sream, Inc. (“Sream” or “Plaintiff”) filed suit against Defendant
 5    Hassan Nuru d/b/a Shamrock Smoke Shop (“Nuru”), alleging that Nuru violated Sream’s
 6    rights under 15 U.S.C. §§ 1114, 1116, 1125(a), (c), and (d), and Cal. Bus & Prof. § 17200
 7    et seq. (“Action”);
 8          B.      The Parties entered into a settlement agreement as of September 2014
 9    (“Settlement Agreement”), which requires entry of the stipulated judgment set forth herein;
10          And good cause appearing therefore, IT IS HEREBY ORDERED, ADJUDGED,
11    AND DECREED THAT:
12          1.      That judgment be entered in favor of Sream against Nuru on all claims.
13          2.      For the purposes of binding preclusive effect on Nuru as to future disputes
14    between Nuru and Sream, and only for such purposes, Nuru admits the following:
15               a. Mr. Martin Birzle is now, and has been at all times since the dates of issuance,
16                  the owner of United States Trademark Registration Nos. 2,235,638; 2,307,176;
17                  and 3,675,839 (the “RooR Marks”) and of all rights thereto and thereunder.
18               b. The RooR Marks are valid and enforceable.
19               c. Since at least 2011, Plaintiff Sream has been the exclusive licensee of the
20                  RooR Marks in the United States. Mr. Birzle has been granted all
21                  enforcement rights to Sream to sue for obtain injunctive and monetary relief
22                  for past and future infringement of the RooR Marks.
23               d. Nuru, by the actions described in the complaint, has infringed upon the RooR
24                  Marks.
25          3.      Nuru, and those acting on Nuru’s behalf (including its owners, shareholders,
26    principals, officers, agents, servants, employees, independent contractors, and partners), are
27    permanently enjoined from producing, manufacturing, distributing, selling, offer for sale,
28    advertising, promoting, licensing, or marketing (a) any product bearing the RooR Marks or
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                                                JUDGMENT
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 1    (b) any design, mark, or feature that is confusingly similar to the RooR Marks (collectively,
 2    the “Injunction”).
 3          4.     Nuru is bound by the Injunction regardless of whether Mr. Martin Birzle
 4    assigns or licenses its intellectual property rights to another for so long as such trademark
 5    rights are subsisting, valid, and enforceable. The Injunction inures to the benefit of Mr.
 6    Martin Birzle’s successors, assignees, and licensees.
 7          5.     This Court (or if this Court is unavailable, any court within the Central District
 8    of California) shall retain jurisdiction over all disputes between and among the Parties
 9    arising out of the Settlement Agreement and Injunction, the Stipulation which includes the
10    Injunction, and this final judgment, including but not limited to interpretation and
11    enforcement of the terms of the Settlement Agreement.
12          6.     The Parties waive any rights to appeal this stipulated judgment, including
13    without limitation the Injunction.
14
15          IT IS SO ORDERED.
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                10/6/14
18    Dated: _______________________
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20                                                      United States District Court Judge
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